                          UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF NEW MEXICO

 In re:                                               Chapter 11

 ROMAN CATHOLIC CHURCH OF THE                         Case No. 18-13027-t11
 ARCHDIOCESE OF SANTA FE, a New
 Mexico corporate sole,

            Debtor-in-Possession.


 ROMAN CATHOLIC CHURCH OF THE                         Adversary Proceeding No.:
 ARCHDIOCESE OF SANTA FE, a New Mexico
 corporate sole,

            Plaintiff,

 v.

 GREAT AMERICAN INSURANCE COMPANY;
 ARROWOOD INDEMNITY COMPANY, formerly
 known as Royal Indemnity Company, successor by
 merger to Royal Insurance Company of America; ST.
 PAUL FIRE AND MARINE INSURANCE
 COMPANY, as itself and as successor to or assignee
 of St. Paul Mercury Insurance Company and St. Paul
 Mercury Indemnity Company; and UNITED STATES
 FIRE INSURANCE COMPANY,

            Defendants.




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                                         COMPLAINT

       Plaintiff and Debtor-in-Possession the Roman Catholic Church of the Archdiocese of Santa

Fe, a New Mexico corporate sole (the “Archdiocese” or “Debtor”), by and through its attorneys,

Blank Rome LLP, Elsaesser Anderson, Chtd., and Walker & Associates, P.C., brings this

Complaint against Great American Insurance Company (“Great American”); Arrowood Indemnity

Company, formerly known as Royal Indemnity Company, successor by merger to Royal Insurance

Company of America (“Arrowood”); St. Paul Fire and Marine Insurance Company as itself and as

successor to or assignee of St. Paul Mercury Insurance Company and St. Paul Mercury Indemnity

Company (“St. Paul”); and United States Fire Insurance Company (“U.S. Fire”) (“Defendant(s),”

“Defendant Insurer(s),” or “Insurer(s)) and alleges as follows:

                                         BACKGROUND

       1.      This is an action for declaratory judgment against the Insurers due to their failure

to honor contractual commitments to provide liability insurance coverage to the Archdiocese for

claims alleging decades-old sexual abuse. The Archdiocese seeks declaratory relief to determine

the extent of its right to insurance coverage from the Insurers, and the extent to which sums owed

by the Insurers may be property of the estate under 11 U.S.C. § 541.

       2.      Numerous claims have been asserted against the Archdiocese alleging sexual abuse

that took place years and, in many instances, decades ago. The Archdiocese, which filed for

Chapter 11 bankruptcy more than three years ago, seeks to resolve the sexual abuse claims with

proceeds from its liability insurance.

       3.      In the 1990s, the Archdiocese sought coverage for sexual abuse claims from the

insurers that sold (or otherwise were responsible for) liability insurance policies that the

Archdiocese had purchased between February 1953 and April 1986.


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         4.       That effort led to a series of settlement agreements between the Archdiocese and

its pre-April 1986 insurers, and certain of those settlement agreements fully released certain

insurers from any continuing insurance obligations. 1

         5.       The settlement agreements between the Archdiocese and Defendant Insurers,

however, resolved only discrete issues relating to insurance coverage for sexual abuse claims (the

“Settlement Agreements”). They did not release Defendants from all liability pursuant to the

corresponding insurance policies for which Defendants were (and remain) responsible.

         6.       The Settlement Agreements between the Archdiocese and Defendants and the

corresponding insurance coverage remain in force to this day. Consequently, Defendants have

ongoing obligations to provide insurance coverage for present and future sexual abuse claims

alleged against the Archdiocese.

         7.       The Agreements and the insurance policies require Defendants to provide coverage

for sexual abuse claims currently pending against the Archdiocese. But Defendants have not

fulfilled their contractual obligations to provide insurance coverage for the sexual abuse claims,

nor have they accepted or acknowledged their obligations.

                                                    PARTIES

         8.       The Archdiocese is a Roman Catholic archdiocese in New Mexico, with the

episcopal see in Santa Fe and principal place of business in Albuquerque, New Mexico. The

Archdiocese was elevated from a diocese to an archdiocese on February 12, 1875.

         9.       Upon information and belief, Great American Insurance Company is a corporation



1
 The settlement agreements that released insurers pertain to the periods from January 1, 1961 to November 1, 1964
and April 1, 1977 to April 1, 1986. These settlements are not at issue in this case and the released insurers are not
parties to this action.


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organized under the laws of Ohio, with its principal place of business located in Cincinnati, Ohio.

Upon information and belief, Great American Insurance Company operates in New Mexico and

sold insurance policies providing coverage to the Archdiocese for certain timeframes during which

the underlying claimants allege abuse.

       10.     Upon information and belief, Arrowood Indemnity Company is a corporation

organized under the laws of Delaware with its principal place of business in Charlotte, North

Carolina. Upon information and belief, Arrowood Indemnity Company, formerly known as Royal

Indemnity Company, is successor by merger to Royal Insurance Company of America, which

operated in New Mexico and sold insurance policies providing coverage to the Archdiocese for

certain timeframes during which the underlying claimants allege abuse.

       11.     Upon information and belief, St. Paul Fire and Marine Insurance Company is a

corporation organized under the laws of Connecticut, with its principal place of business in

Hartford, Connecticut. Upon information and belief, St. Paul Fire and Marine Insurance Company

is the successor or assignee of St. Paul Mercury Insurance Company and St. Paul Mercury

Indemnity Company. Upon information and belief, St. Paul Fire and Marine Insurance Company,

St. Paul Mercury Insurance Company, and St. Paul Mercury Indemnity Company operate, or

operated, in New Mexico and sold insurance policies providing coverage to the Archdiocese for

certain timeframes during which the underlying claimants allege abuse.

       12.     Upon information and belief, United States Fire Insurance Company is a

corporation organized under the laws of Delaware, with its principal place of business in

Morristown, New Jersey. Upon information and belief, United States Fire Insurance Company

operates in New Mexico and sold insurance policies providing coverage to the Archdiocese for




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certain timeframes during which the underlying claimants allege abuse.

       13.     On January 24, 2022, the Archdiocese filed Debtor’s Motion to File Confidential

Insurance Documents under Seal (Doc. No. 924) in which it requested an Order authorizing it to

file this Complaint under seal, and requiring that all subsequent documents filed in the Adversary

Proceeding initiated thereby also be filed under seal. On February 18, 2022, the Court entered its

Order on Motion to File Confidential Insurance Documents under Seal (Doc. No. 944) in which it

denied the Motion to file under Seal and ordered that the parties may attach copies of the “St. Paul

Agreement” and the “Pre-1977 Agreement” (defined below, and referred to in Doc. No. 944 as the

“CIPs”) without breaching the confidentiality provisions of the CIPs and ordering that all copies

of the CIPs filed or otherwise disclosed or disseminated in connection this Adversary Proceeding

must be redacted as shown on Exhibit A attached to Doc. No. 944.

                                JURISDICTION AND VENUE

       14.     In or about December 3, 2018, the Archdiocese filed a voluntary petition under

Chapter 11 of the United States Bankruptcy Code, 11 U.S.C. §§ 101 et seq.

       15.     Pursuant to §§ 1107 and 1108 of the Bankruptcy Code, the Archdiocese continues

to operate and manage its property as a debtor-in-possession.

       16.     This Court has personal jurisdiction over each Defendant because each Defendant

has sufficient contacts with New Mexico. Further, each Defendant otherwise availed itself of the

markets of New Mexico.

       17.     This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1332 and

1334(b) because this is an action between citizens of different states and the amount in controversy

exceeds $75,000.

       18.     This adversary proceeding is a core proceeding pursuant to 28 U.S.C. § 157 insofar


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as it seeks to determine the extent and nature of the interests of the bankruptcy estate in certain

settlement agreements and the insurance policies, and its rights under said settlement agreements

and insurance policies, under 11 U.S.C. § 541.

          19.   Venue is proper in this district pursuant to 28 U.S.C. §§ 1391(a) and 1391(b)

because a substantial part of the events or omissions giving rise to the dispute occurred in this

district.


                                       DEFENDANT INSURERS

          20.   At various times during the period from at least February 1953 to in or about April

1977, in consideration of premiums paid by the Archdiocese, or on behalf of the Archdiocese,

Defendant Insurers and/or their predecessors-in-interest sold or became responsible for primary

general liability insurance policies, as well as certain umbrella and/or excess liability policies,

which insure the Archdiocese (the “Insurance Policies”).

          21.   Each of the Insurance Policies requires Defendant Insurers to pay on behalf of the

Archdiocese all sums that the Archdiocese becomes legally obligated to pay as damages because

of bodily injury, as long as any part of the injury is alleged to have happened during the policy

period.

          22.   Each of the Insurance Policies also requires Defendant Insurers to pay defense costs

and expenses, including attorney’s fees, incurred by the Archdiocese in the investigation and

defense of underlying actions and claims that are even potentially covered. This obligation applies

even if the allegations against the Archdiocese are groundless, false, or fraudulent.

          23.   All premiums for the Insurance Policies were timely paid.




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                                 SETTLEMENT AGREEMENTS

        24.     In June 1996, the Archdiocese entered into a settlement agreement with St. Paul to

resolve then-existing coverage disputes regarding sexual abuse claims, pursuant to which, inter

alia, St. Paul agreed to pay ninety-five percent (95%) of the sums the Archdiocese pays in

connection with claims alleging abuse in whole or in part between February 11, 1953 to January

1, 1960, that are resolved after August 27, 1996, subject to the applicable policies’ limits of liability

(the “St. Paul Agreement”). A true and correct copy of the redacted St. Paul Agreement is attached

hereto as Exhibit 1. Nothing in the St. Paul Agreement suggests that the funding obligation of

one party is a condition precedent to the funding obligation of another

        25.     In fall 1996, the Archdiocese entered into a settlement agreement with Great

American, St. Paul, Royal Insurance Company of America (now known as Arrowood), and U.S.

Fire (the “Pre-1977 Insurers”) to resolve then-existing coverage disputes regarding sexual abuse

claims. The Pre-1977 Insurers agreed, inter alia, to pay seventy-five percent (75%) of a settlement

or judgment in connection with a claim alleging sexual abuse in whole or in part between

November 1, 1965 to April 1, 1977, subject to the policies’ applicable limits of liability (the “Pre-

1977 Agreement”). A true and correct copy of the redacted Pre-1977 Agreement is attached hereto

as Exhibit 2.

        26.     The Pre-1977 Agreement confirmed that “the Archdiocese has coverage for sex

abuse claims under each of the Pre-1977 Polices and that the Pre-1977 Carriers will not contest

coverage . . . .” Ex. 2, § XII, C.

        27.     The Pre-1977 Agreement set forth the parties’ agreements that (i) coverage under

the Pre-1977 Policies would be triggered in each policy period in which acts of sexual abuse

allegedly occurred (effectively waiving any “expected/intended” defense to coverage), and (ii) for


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purposes of determining the number of “per occurrence” limits of liability that are available to

satisfy claims arising from sexual abuse alleged to have been committed from November 1, 1965

to April 1, 1977, “there shall be one ‘occurrence’ per perpetrator per policy period, regardless of

the number of instances of Sexual Abuse or the number of claimants who were allegedly sexually

abused by the same perpetrator during the same policy period[.]” Ex. 2, §VII (emphasis removed).

       28.     Most importantly, the Pre-1977 Agreement also allocated in precise and non-

contingent terms the amounts that the Archdiocese and the Pre-1977 Insurers would pay toward

the settlement or final judgment of any claims governed by the agreement, whether such claim was

known or unknown at the time of settlement, to wit:

       IX.     Payment of Settlements and Judgments.
               A.    The Pre-1977 Carriers whose policies are triggered by a claim
                     agree to pay 75% of the settlement or final judgment amount, subject
                     to their remaining “per person” and/or “per occurrence” limits of
                     liability, and the provisions in this agreement concerning allocation
                     of liability among the Parties. Each Pre-1977 Carrier is obligated
                     to make available its full remaining limits of liability toward the
                     settlement of each claim triggering its policies and such limits shall
                     not be reduced in any fashion other than the reduction of each Pre-
                     1977 Carrier’s per person and/or per-occurrence limits by the
                     payment of settlements or judgments.
               B.    The Archdiocese agrees to pay 25% of the settlement or final
                     judgment amount for any Pre-1977 Claim, subject to the provisions
                     in this agreement concerning allocation of liability among the
                     Parties. The Pre-1977 Carriers have the right to waive the
                     Archdiocese’s 25% contribution and the Archdiocese will agree to
                     such waiver.

Ex. 2, § IX (emphasis in original).

       29.     For the avoidance of doubt, the Pre-1977 Agreement included several illustrative

examples as to how different hypothetical settlements would be funded; and none of the examples

suggest or imply (much less, explicitly state) that the Insurers’ obligation to contribute their

allocated share toward a settlement or judgment would be contingent upon the Archdiocese having


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first contributed its allocated share (or vice versa). Indeed, nothing in the Pre-1977 Agreement

suggests that the funding obligation of one party is a condition precedent to the funding obligation

of another.

        30.      The Pre-1977 Agreement provides that “all Pre-1977 Carriers with triggered

policies must approve the proposed terms of each settlement of underlying claims . . . .” See Ex.

2, § VII., A. But it also provides:

              If a claimant makes a settlement demand that the Archdiocese wants to accept, but one
              or more of the Pre-1977 Carriers whose policies are triggered by the claim object to the
              reasonableness of the settlement demand, then the carrier(s) objecting to the settlement
              (the “Objecting Carriers”) with a defense obligation shall thereafter be solely
              responsible for all future costs of defending the claim.

Id. § VII., C.

                        CURRENT INSURANCE COVERAGE DISPUTE

        31.      Numerous individuals have asserted claims against the Archdiocese and submitted

proofs of claim in the Archdiocese’s bankruptcy, alleging that the Archdiocese is liable for

damages because of its purported negligence in connection with alleged sexual abuse perpetrated

by certain priests and other persons under the alleged supervision or otherwise within the purview

of the Archdiocese.

        32.      Numerous such claims allege sexual abuse that allegedly occurred in whole or in

part during the policy periods for which the Insurers are responsible (the “Underlying Sexual

Abuse Claims”). In addition, many Underlying Sexual Abuse Claims allege abuse that occurred

over the course of multiple policy periods. As a result, an Underlying Sexual Abuse Claim may

implicate more than one of the Insurance Policies and Insurers.

        33.      Defendant Insurers received timely notice of the Underlying Sexual Abuse Claims

and at all times the Archdiocese cooperated with the Insurers’ reasonable requests.


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        34.     The Archdiocese fulfilled all its duties and conditions under each of the Insurance

 Policies and Settlement Agreements with respect to the Underlying Sexual Abuse Claims.

        35.     The Archdiocese is entitled to all benefits provided by the Insurance Policies and

 Settlement Agreements.

        36.     The Insurers, however, have failed to acknowledge their full obligations to

 indemnify the Archdiocese, including paying all past and future defense costs, settlements or

 judgments, in connection with the Underlying Sexual Abuse Claims, despite the Archdiocese’s

 timely requests for coverage for defense costs and indemnity.

        37.     In failing to acknowledge their full obligations, the Insurers have, inter alia,

 improperly conditioned payment of the Underlying Sexual Abuse Claims covered by the

 Settlement Agreements and Insurance Policies on the Archdiocese’s payment of a percentage share

 of the Underlying Sexual Abuse Claims.

        38.     Nothing in the Settlement Agreements, however, conditions the Insurers’

 obligations to pay their percentage shares of a claim upon the Archdiocese’s payment of a

 percentage share of a claim. See discussion supra. There is, therefore, no basis in law or fact for

 the Insurers’ to assert that payment by the Archdiocese of a particular amount or percentage toward

 settlement of the Underlying Sexual Abuse Claims is a condition precedent to the Insurers’

 performance of their obligations.

        39.     Nor do the Settlement Agreements permit the Insurers to use the Archdiocese’s

 bankruptcy to avoid their obligations. The Pre-1977 Agreement states clearly that each Insurer “is

 obligated to make available its full remaining limits of liability toward the settlement of each claim

 triggering its policies and such limits shall not be reduced in any fashion other than the reduction




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 of each Pre-1977 Carrier’s per person and/or per-occurrence limits by the payment of settlements

 or judgments.” Ex. 2, § IX; see also Ex. 1 § IX.

        40.     Certain Insurance Policies state “In the event of the bankruptcy or insolvency of the

 Insured or any entity comprising the Insured, the Company shall not be relieved thereby of the

 payment of any claims because of such bankruptcy or insolvency.” See, e.g., St. Paul Policy No.

 566XB0825 (11/2/1967-11/2/1968).

        41.     By failing to acknowledge their full obligations pursuant to the Insurance Policies

 and Settlement Agreements in connection with the Underlying Sexual Abuse Claims, the Insurers

 are in breach of their contractual obligations to the Archdiocese, and, consequently, they have

 impeded and obstructed the Archdiocese’s ability to resolve the Underlying Sexual Abuse Claims,

 while, at the same time, ignoring provisions in the Settlement Agreements stating that “[t]he

 Parties agree to deal with each other in good faith in entering into and carrying out the terms of

 this agreement.” Ex. 1, § III, Ex. 2, § III. An actual and justiciable controversy exists as to all

 Defendants in this action.

                                             COUNT I

                      Declaratory Judgment Against Defendant Insurers

        42.     The Archdiocese repeats and realleges each and every allegation contained in

 paragraphs 1 through 40 above with the same force and effect as though fully set forth herein.

        43.     The Archdiocese seeks a judicial determination from this Court of the rights and

 duties of the Archdiocese and Defendant Insurers with respect to an actual controversy arising out

 of the Settlement Agreements and Insurance Policies.

        44.     Pursuant to the terms of the Settlement Agreements, each Defendant Insurer is




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 obligated to provide coverage for the Underlying Sexual Abuse Claims, and this obligation of

 Defendants exists irrespective of whether the Archdiocese pays a percentage share of the

 Underlying Sexual Abuse Claims.

        45.     Defendant Insurers have not accepted or acknowledged their legal obligations to

 provide coverage for the Underlying Sexual Abuse Claims.

        46.     Each Defendant Insurer’s failure to accept or acknowledge its obligations to the

 Archdiocese constitutes a breach of the Settlement Agreements and the Insurance Policies for

 which it is responsible.

        47.     An actual controversy of a justiciable nature presently exists between the

 Archdiocese and Defendant Insurers regarding the application of the Settlement Agreements and

 Insurance Policies to the Underlying Sexual Abuse Claims, including whether, as a precondition

 to Defendant Insurers’ obligations, the Archdiocese must pay a percentage share of the Underlying

 Sexual Abuse Claims. The controversy is of sufficient immediacy and magnitude to justify the

 issuance of a declaratory judgment.

        48.     Declaratory relief by this Court will terminate or significantly reduce the existing

 controversy between the parties.

                                       PRAYER FOR RELIEF

                WHEREFORE, the Archdiocese prays for judgment as follows:

        1.      The Archdiocese requests that this Court enter a declaratory judgment in favor of

 the Archdiocese against Defendant Insurers, declaring that each Defendant Insurer is obligated to

 provide coverage for the Underlying Sexual Abuse Claims pursuant to the terms of the Insurance

 Policies and the Settlement Agreements, and further declaring that this obligation exists




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 irrespective of whether the Archdiocese pays or is obligated to pay any particular amount or

 percentage toward settlement of the same, together with attorneys’ fees and costs and pre-judgment

 and post-judgment interest;

        2.      Additionally, the Archdiocese requests such other and further relief as this Court

 may deem just and proper.

 Dated: February 22, 2022

                                                  Respectfully submitted,


                                              By: electronically filed 2/22/2022
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